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                    EXHIBIT D
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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


RESEARCH IN MOTION LTD. AND
RESEARCH IN MOTION CORP.,

                      Plaintiff(s),                           Civil Action No. 3:08-cv-02075-K

        v.
                                                              Jury Trial Demanded
EASTMAN KODAK COMPANY,

                      Defendant.



               PLAINTIFF RIM’S FIRST REQUESTS FOR PRODUCTION
                    OF DOCUMENTS AND THINGS TO KODAK

        Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiffs and Counterclaim

Defendants Research In Motion Ltd. (“RIM Ltd.”) and Research In Motion Corporation (“RIM

Corp.”) (collectively “RIM”) hereby request that Defendant and Counterclaim Plaintiff Eastman

Kodak Company (“Kodak”) produce for inspection and copying each of the documents and

things falling within the categories specified in the individually numbered requests below, in

accordance with the definitions and instructions contained herein.

        Production shall take place within 30 days of service of these requests at the offices of

Fish & Richardson P.C., 1717 Main Street, Suite 5000, Dallas, Texas 75201 or at such other date

and place as is mutually agreeable. Kodak is subject to a duty to timely supplement all responses

to these requests for production in accordance with Rule 26(e) of the Federal Rules of Civil

Procedure.


                                         DEFINITIONS

   1.          “Kodak,” “Defendant,” “You,” and “Your” shall mean Eastman Kodak Company

and all parents, subsidiaries, and affiliates thereof, all divisions, predecessors, successors, and
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assigns of each of the foregoing, and all officers, employees, directors, agents, consultants,

attorneys, and all other persons acting or purporting to act on behalf of or under the control of

any of the foregoing.

   2.            The term “Litigation” means civil action number 3:08-cv-02075-K, filed in the

Northern District of Texas, captioned Research In Motion Ltd. v. Eastman Kodak Company.

   3.            The term “Patents-in-Suit” shall refer collectively and individually to (a) U.S.

Patent No. 5,493,335 (“the ’335 patent”); (b) U.S. Patent No. 6,292,218 B1 (“the ’218 patent”);

(c) U.S. Patent No. 6,600,510 B1 (“the ’510 patent”); and (d) U.S. Patent No. 5,226,161 (“the

’161 patent”).

   4.            The term “Related Patents” shall refer collectively and individually to (a) all

United States or foreign patents and applications related to or claiming priority to or from any of

the applications that led to any of the Patents-in-Suit, including parent applications,

continuations, continuations in part, divisionals, reissues, reexaminations, and foreign

counterparts; and (b) all United States or foreign patents and applications that you contend relate

to or provide the basis for priority for the applications that led to any of the Patents-in-Suit,

including parent applications, continuations, continuations in part, divisionals, reissues,

reexaminations, and foreign counterparts.

   5.            The term “Patents-at-Issue” shall refer collectively and individually to any of the

Patents-in-Suit or Related Patents.

   6.            The term “prior art” has the same meaning used in 35 U.S.C. § 101 et seq., and

includes any patent, printed publication, knowledge, use, sale, offer for sale or other act or event

defined in 35 U.S.C. § 102 or § 103, taken singularly or in combination. Thus, for example,

prior art includes information, knowledge, documents, and things concerning the subject matter



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of the Patents-at-Issue that were made or existed in the United States or abroad before the

respective filing dates of the Patents-at-Issue.

   7.          The term “Wang” means Wang Laboratories, Inc., including, but not limited to,

all predecessors and acquired entities, subsidiaries, successors, parents, assigns and affiliates, and

all past or present directors, officers, agents, representatives, employees, consultants, attorneys,

entities, and others involved with the ‘161 patent or activities associated therewith.

        8.     The term “inventor” means any one or more of the inventors of the subject matter

claimed in one or more of the Patents-in-Suit.

        9.     The term “document” or “documents” shall have the same scope as in Federal

Rule of Civil Procedure 26, and include, without limitation, originals, masters and every non-

identical copy of writings and printed, typed and other graphic or photographic matter, including

microfilm of any kind or nature, recordings (tape, disc or other) of oral communications, and

other data compilations from which information can be obtained, in the possession, custody or

control of Kodak or any present or former officers, employees or agents thereof, or known by

Kodak to exist. The term “document” or “documents” shall include, without limiting the

generality of the foregoing, all letters, telegrams, teletypes, correspondence, contracts,

agreements, notes to the files, notebooks, reports, memoranda, mechanical and electronic sound

records or transcripts thereof, blueprints, flow sheets, formal or informal drawings or diagrams,

products, prototypes, calendar or diary entries, memoranda of telephone or personal

conversations or of meetings or conferences, studies, reports, interoffice communications, price

lists, bulletins, circulars, statements, manuals, summaries of compilations, minutes of meetings,

maps, charts, graphs, order papers, articles, announcements, books, catalogs, records, tables,

books of account, ledgers, vouchers, canceled checks, invoices or bills. A draft or non-identical

copy is a separate document within the meaning of this term.

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       10.      The term “thing” has the broadest meaning accorded that term by Federal Rule of

Civil Procedure 34, and includes every kind of physical specimen or tangible item, other than a

document, in the possession, custody, or control of RIM.

       11.     A request for a “document” shall be deemed to include a request for a “thing.” A

request for a “thing” shall be deemed to include a request for a “document.”

       12.     The term “individual” means a natural person.

       13.     The term “person” means any individual(s) in any capacity whatsoever or any

entity or organization including divisions, subsidiaries, departments, and other units therein, and

shall include, but not be limited to, a public or private corporation, partnership, joint venture,

voluntary or unincorporated association, organization, proprietorship, trust, estate, governmental

agency, commission, bureau, or department.

       14.     The term “communication” means all written, electronic, oral, telephonic, or other

inquiries, dialogues, discussions, conversations, interviews, correspondence, consultations,

negotiations, agreements, understandings, meetings, letters, notes, telegrams, facsimiles,

advertisements, computer mail, e-mail, and all other documents evidencing any verbal or

nonverbal interaction between persons and entities.

       15.     The term “all” shall be construed as all and each, and the term “each” shall be

construed as all and each.

       16.     The terms “relating to” and “referring to” are used in their broadest sense, and

mean anything that, directly or indirectly, generally or specifically, regards, relates to, refers to,

concerns, contains, constitutes, contradicts, evidences, embodies, comprises, supports, reflects,

mentions, identifies, states, deals with, comments on, responds to, described, or analyzes the

subject.

       17.     The term “third-party” means any person or entity other than RIM or Kodak.

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       18.     The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

       19.     The use of the singular form of any word includes the plural and vice versa.

       20.     The terms “identify” or “identity” when used in connection with an individual

means: state the individual’s full name; his or her home and business addresses; his or her

present employer; his or her position, title, or job description; and, if employed by you, the

individual’s dates and regular places of employment, and general duties.

       21.     The terms “identify” or “identity” when used in connection with a company,

corporation, association, partnership, joint venture, or any entity other than a natural person

means: state its full name and type of organization or entity; state the address of its principal

place of business, its date and place of incorporation; and identify its officers, directors, and

managing agents.

       22.     The terms “identify” or “identity” when used in connection with an oral statement

means: state the name of the speaker; the date of the statement; the place at which the statement

was made; the person or persons to whom the statement was addressed, if practicable, and

otherwise a general description of the persons to whom the statement was addressed; the subject

matter of the statement; and, if the statement was memorialized in writing or mechanical or other

recording, the date and present location of said writing or mechanical or other recording.

       23.     The terms “identify” or “identity” when used in connection with a written

document or statement means: state the name of the author; the type of document or writing; the

date; the addressee, or recipient, if practicable, and otherwise a general description of the persons

to whom the writing was distributed; the subject matter; and the present location. In lieu of such



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identification, you may attach a copy of the writing containing said written statement and refer

thereto in your answer.

       24.     Any term not specifically defined herein shall be given its ordinary and customary

meaning.

                                         INSTRUCTIONS

       1.      These requests shall apply to all items (e.g., documents or things) in your

possession, custody, or control and/or the possession, custody, or control of any of your

employees, agents, corporations, parent or subsidiary corporations, and/or divisions or affiliates.

All documents within the possession of your experts, consultants, and/or contractors should be

consulted and provided if responsive.

       2.      If you know of the existence, past or present, of any items requested below, but

are unable to produce such items because they are not presently in your possession, custody, or

control, you shall so state and shall provide a written statement setting forth:

               (a)     the identity of the item;

               (b)     the nature of the item (e.g., letter, memorandum, or chart);

               (c)     the identity of the person(s) who created (e.g., authored) the item;

               (d)     the identity of any person who received a copy of the item;

               (e)     the date of the item;

               (f)     a brief description of the subject matter of the item; and

               (g)     the identity of any person who has possession, custody, or control of the

               item.

       3.      If no documents are responsive to a particular request, state that no responsive

documents exist.



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        4.     For any responsive items (e.g., documents or things) that have been lost,

destroyed, withheld from production, or redacted, based on any ground, you shall provide a

written statement setting forth:

               (a)     the identity of the item;

               (b)     the nature of the item (e.g., letter, memorandum, or chart);

               (c)     the identity of the persons(s) who created (e.g., authored) the item;

               (d)     the identity of any person who received a copy of the item;

               (e)     the date of the item;

               (f)     a brief description of the subject matter of the item; and

               (g)     the circumstances of the loss or destruction of the item or any fact, statute,

               rule, or decision upon which you rely in withholding or redacting the item.

        5.     If you decline to produce any document or part thereof based on a claim of

privilege or any other claim, describe the nature and basis of your claim and the information

withheld in a manner sufficient:

               (a)     to disclose the facts upon which you rely in asserting your claim;

               (b)     to permit the grounds and reasons for withholding the information to be

               identified unambiguously; and

               (c)     to permit the information withheld to be identified unambiguously.

        6.     All documents requested are to be produced in the same file or other

organizational environment in which they are maintained. For example, a document that is part

of a file, docket, or other grouping, should be physically produced together with all other

documents from said file, docket or grouping, in the same order or manner of arrangement as the

original.



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       7.      You shall keep and produce a record of the source of each document produced.

This shall include the name and location of the file where each document was located and the

name of the person, group, or department having possession, custody, or control of each

document.

                                DOCUMENTS TO BE PRODUCED

       1.      Identify and produce all documents and things identified in any Kodak response

or supplemental response to any of RIM’s interrogatories in this Litigation, including, but not

limited to, any documents and things used or relied upon in the preparation of responses or

supplemental responses to any such interrogatories.

       2.      Identify and produce all settlement agreements, licenses, and covenants-not-to-sue

relating to one or more of the Patents-at-Issue.

       3.      Identify and produce all documents and things relating to any agreement that

terminated any contested proceeding, or any threatened contested proceeding, relating to one or

more of the Patents-at-Issue.

       4.      Identify and produce all documents referring or relating to RIM.

       5.      For each patent-infringement defendant in other suits or proceedings brought by

Kodak under one or more of the Patents-at-Issue, identify and produce all documents and things

relating to any agreement between such defendant and Kodak.

       6.      Identify and produce all documents and things relating to all comparisons, reports,

analyses, considerations, studies, investigations, or evaluations relating to the value of one or

more of the Patents-at-Issue.

       7.      Identify and produce all documents and things relating to Kodak’s claims for

damages in this Litigation.



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        8.     Identify and produce all documents and things relating to any calculations or

computations of damages considered or conducted by Kodak relating to an appropriate royalty to

be paid to Kodak for any rights to one or more of the Patents-at-Issue.

        9.     For each claim of the Patents-in-Suit, identify and produce all documents and

things relating to any opinion, evaluation, study, or investigation of a reasonable royalty for such

claim, including, but not limited to, all documents and things relating to the factors set forth in

Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970).

        10.    Identify and produce documents and things sufficient to show all patent licensing

policies or practices of Kodak.

        11.    Identify and produce all documents and things relating to any royalties or other

compensation paid or to be paid to Kodak in connection with any license, transfer, or assignment

of any right or interest in or to one or more of the Patents-at-Issue, and identify and produce all

documents and things relating to the method used to calculate such royalty payments or other

payments.

        12.    Identify and produce all documents relating to testing, experimentation, research,

or development of any subject matter shown, described, or claimed in one or more of the Patents-

at-Issue.

        13.    For each claim of the Patents-in-Suit, identify and produce all documents and

things relating to the earliest date of conception of the alleged invention claimed therein.

        14.    For each claim of the Patents-in-Suit, identify and produce all documents and

things relating to the earliest date of reduction to practice of the alleged invention claimed

therein.




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       15.    For each of the Patents-at-Issue, identify and produce all documents and things

relating to the prosecution of the application that became that patent, including, without

limitation:

       a.     all documents which provided the bases for any of said applications;

       b.     all disclosures of the subject matter of any of said applications;

       c.     all documents and things concerning the scope of the claims of such applications;

       d.     all communications between the alleged inventor(s) and his/their patent

              attorney(s) or agent(s) concerning the subject matter described or claimed in any

              of said applications;

       e.     all drafts of any of said applications;

       f.     all documents concerning any actual or potential interference(s) regarding any of

              said applications;

       g.     all documents concerning any actual or potential reissue application or re-

              examination request or proceeding regarding any of the Patents-at-Issue;

       h.     all patents, publications, references or prior art, and all records or documents

              concerning any prior art or any possible ground of unpatentability and/or

              invalidity, submitted, cited, discussed, or considered in connection with any of

              said applications;

       i.     all copies (including drafts) of responses to Office Actions, amendments,

              affidavits, and other communications or submissions of any kind with or to the

              PTO with respect to any of said applications; and

       j.     all inventor notes.




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       16.     For the ‘510 patent, identify and produce all documents and things relating to the

post-issuance prosecution of the ‘510 patent, including the request for the Certificate of

Correction and Reissue Application.

       17.     Identify and produce all documents and things relating to Kodak’s contention that

the ‘510 patent is not unenforceable because of inequitable conduct committed before the U.S.

Patent and Trademark Office by Kodak, or any other person having a duty of candor and good

faith in dealing with the U.S. Patent and Trademark Office regarding the applications that

became the ‘510 patent.

       18.     For each person involved with prosecution of one or more Patents-in-Suit,

identify and produce all deposition transcripts, trial transcripts, hearing transcripts, affidavits,

and other litigation documents from all Kodak lawsuits and proceedings.

       19.     Identify and produce all documents and things relating to any obligation of or

requirement for the listed inventors of one or more of the Patents-at-Issue to assign or transfer

any rights to any invention claimed in one or more of the Patents-at-Issue to Kodak, or any other

person, and any agreements compensating the inventors with respect to one or more of the

Patents-at-Issue.

       20.     Identify and produce all employment agreements, confidentiality agreements,

contracts, consulting agreements, and other documents related to employment of each of the

listed inventors of one or more Patents-in-Suit.

       21.     Identify and produce all personnel files for each of the listed inventors of one or

more Patents-in-Suit.

       22.     For each of the listed inventors of one or more Patents-in-Suit, identify and

produce all deposition transcripts, trial transcripts, hearing transcripts, affidavits, and other

litigation documents from all Kodak lawsuits and proceedings.

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        23.     Identify and produce all documents relating to the preparation or filing of

Information Disclosure Statements, including drafts, related patents, and publications pertinent to

one or more of the Patents-at-Issue.

        24.     Identify and produce all documents relating to any communication between or

among Kodak, Wang, or any third party related to one or more of the Patents-in-Suit, including,

without limitation: (a) all documents relating to any valuation, analysis, or opinion of one or

more of the Patents-at-Issue that were discussed, exchanged, communicated, created for or in

preparation of, or that otherwise relate to this Litigation, including, without limitation, patent

valuations, infringement analyses, invalidity analyses, claim scope analyses, enforceability

opinions, or other opinions or analyses; (b) all documents relating to ownership of, license to,

royalties in, or any other right in one or more of the Patents-at-Issue by Kodak, Wang, or any

third party; and (c) all documents relating to any agreements to transfer or assign ownership of

one or more of the Patents-at-Issue to Kodak.

        25.     All documents concerning (a) the relationship between Kodak and Wang, (b)

agreements between Kodak and Wang, (c) consideration that has been or will be transferred

between Kodak and Wang concerning rights to the Patents-in-Suit or the claims asserted in this

lawsuit, and (d) Kodak’s and Wang’s interest, if any, in the Patents-in-Suit and financial interest,

if any, in this lawsuit.

        26.     All communications between Kodak and Wang related to the Patents-at-Issue.

        27.     For each claim of the Patents-at-Issue, identify and produce all documents and

things relating to any search for prior art for the subject matter shown, described, or claimed

therein.




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        28.     For each claim of the Patents-in-Suit, identify and produce all documents and

things relating to Kodak’s contention that such claim is not invalid because the alleged invention

fails to satisfy the conditions for patentability specified in 35 U.S.C. § 112.

        29.     For each claim of the Patents-in-Suit, identify and produce all documents and

things relating to Kodak’s contention that such claim is not invalid because the alleged invention

fails to satisfy the conditions for patentability specified in 35 U.S.C. § 103.

        30.     For each claim of the Patents-in-Suit, identify and produce all documents and

things relating to Kodak’s contention that such claim is not invalid because the alleged invention

fails to satisfy the conditions for patentability specified in 35 U.S.C. § 102.

        31.     For each of the Patents-in-Suit, identify and produce all documents that show the

state of the art relative to the subject matter shown, described, or claimed in that patent on or

before the date of invention of that patent.

        32.     For each of the Patents-in-Suit, identify and produce all documents relating to any

alleged differences between the subject matter shown, described, or claimed in that patent and

the state of the art relative to the subject matter shown, described, or claimed in that patent on or

before the date of invention of that patent.

        33.     For each of the Patents-in-Suit, identify and produce all documents relating to the

educational background, experience, and other necessary capabilities of one of ordinary skill in

the art as of the asserted date of invention for that patent.

        34.     Identify and produce all documents relating to any alleged long-felt need for any

of the subject matter shown, described, or claimed in one or more of the Patents-in-Suit.

        35.     Identify and produce all documents relating to any alleged commercial success of

any of the subject matter shown, described, or claimed in one or more of the Patents-at-Issue.



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       36.     Identify and produce all documents relating to any alleged failed attempts by

others to invent any of the subject matter shown, described, or claimed in one or more of the

Patents-at-Issue.

       37.     Identify and produce all documents and things relating to Kodak’s contention that

it marked any of the relevant products as required by 35 U.S.C. § 287.

       38.     All documents concerning any research, design, development, construction,

testing, surveys and/or evaluation of any commercial embodiments of, or products made

according to, or apparatus for carrying out all of any part of, the subject matter described and

claimed in the Patents-at-Issue, including but not limited to all specifications, work instructions,

schematics, drawings, blueprints, and/or diagrams for such embodiments or products.

       39.     All drawings, schematics, brochures, and other documents relating to each of

Kodak’s products within the scope of any claim of the Patents-in-Suit.

       40.     All documents concerning Kodak’s strategies and approaches for marketing and

selling products within the scope of any claim of the Patents-in-Suit.

       41.     All marketing and/or promotional materials (e.g. advertising materials) created by

or for Kodak or sanctioned by Kodak, for each of Kodak’s products within the scope of any

claim of the Patents-in-Suit.

       42.     All documents concerning assessments or evaluations of each of Kodak’s

products and/or devices within the scope of any claim of the Patents-in-Suit manufactured,

marketed or sold by companies other than Kodak.

       43.     All documents concerning forecasted/planned/budgeted sales of Kodak’s products

within the scope of any claim of the Patents-in-Suit including but not limited to forecasts, plans,

and/or budgets for future sales, board meeting minutes, and/or internal memoranda.



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        44.    Representative and summary documents reflecting actual sales of Kodak’s

products within the scope of any claim of the Patents-in-Suit.

        45.    One sample of each version of each Kodak product allegedly covered by any of

the Patents-in-Suit.

        46.    Identify and produce all documents and things relating to Kodak’s contention that

it gave proper notice to RIM that its actions allegedly infringed each of the Patents-in-Suit.

        47.    Identify and produce all documents and things relating to Kodak’s contention that

it otherwise gave proper notice to RIM that its actions allegedly infringed each of the Patents-in-

Suit.

        48.    Identify and produce all documents and things relating to Kodak’s contention that

its attempted enforcement of the Patents-in-Suit against RIM is not barred by laches and/or

estoppel.

        49.    Identify and produce all documents and things relating to Kodak’s contention that

its attempted enforcement of the Patents-in-Suit against RIM is not barred in whole or in party by

the doctrine of prosecution laches and/or prosecution history disclaimer.

        50.    Identify and produce all documents relating to the scope and/or construction or

possible construction of every element or term of the claims of the Patents-in-Suit.

        51.    Identify and produce all documents authored or contributed to by each person that

you intend to offer as an expert witness related to the subject matter identified for his testimony,

all documents that you or anyone acting on your behalf has shown or otherwise made available

to such experts, all documents identified or received by each expert relating to this case, and all

requests of each such expert for information or documents.

        52.    Identify and produce all documents that Kodak may or will seek to offer into

evidence at trial or hearing in this Litigation or as part of any submission to the Court.

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       53.     Identify and produce all sworn testimony of any witness who has testified, is

scheduled to testify, or is subpoenaed to testify—either through deposition testimony or hearing

testimony—on behalf of Kodak in this Litigation, including any current or former Kodak

employee noticed for deposition, any expert identified by Kodak, or any individual Kodak

intends to call as a witness at the evidentiary hearing, including deposition testimony or trial or

hearing testimony, and any corresponding exhibits presented to the witness during examination.

       54.     Identify and produce all documents produced by Kodak in any lawsuit brought by

Kodak asserting one or more of the Patents-at-Issue.

       55.     Identify and produce documents and things sufficient to show the corporate and

management structure of Kodak.

       56.     Identify and produce all documents and things relating to any Kodak corporate

board meeting relating to or concerning this lawsuit, including, but not limited to, minutes of

such Kodak corporate board meetings.

       57.     Identify and produce documents and things sufficient to show all documents,

storage, creation, retention, or disposition policies, plans, and procedures of Kodak, and all

documents and things that relate to the actual compliance or non-compliance with such

document storage, creation, retention, or disposition policies, plans, and procedures.

       58.     Identify and produce all documents and things relating to any Kodak

memorandum, communication, or report relating to or concerning this lawsuit.

       59.     Identify and produce all prior art produced in all Kodak lawsuits and proceedings

involving the Patents-at-Issue.

       60.     Identify and produce all litigation documents created, generated, or produced by

Kodak in all Kodak lawsuits or proceedings involving the Patents-at-Issue (to the extent not



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already produced in this litigation, including, but not limited to, all pleadings, discovery requests,

discovery responses, deposition transcripts, and document production).




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Dated: March 23, 2009                    Respectfully submitted,


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                               CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on March 23, 2009, to all counsel of record via e-mail.


                                               /s/ Thomas H. Reger II
                                               Thomas H. Reger II




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